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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                           :   CRIMINAL NO.:
                                                    :
               v.                                   :   MAGISTRATE NO. 21-MJ-341
                                                    :
 JONAH WESTBURY,                                    :
                                                    :   VIOLATIONS:
                        Defendant.                  :   18 U.S.C. § 1752(a)(1)
                                                    :   (Entering and Remaining in a Restricted
                                                    :   Building)
                                                    :   18 U.S.C. § 1752(a)(2)
                                                    :   (Disorderly and Disruptive Conduct in a
                                                    :   Restricted Building)
                                                    :   40 U.S.C. § 5104(e)(2)(D)
                                                    :   (Disorderly and Disruptive Conduct in a
                                                    :   Capitol Building or Grounds)
                                                    :   40 U.S.C. § 5104(e)(2)(G)
                                                    :   (Parading, Demonstrating, or Picketing in
                                                    :   a Capitol Building)

                                     INFORMATION

         The United States Attorney charges that:

                                          COUNT ONE

         On or about January 6, 2021, in the District of Columbia, JONAH WESTBURY, did

unlawfully and knowingly enter and remain in a restricted building and grounds, that is, any posted,

cordoned-off, or otherwise restricted area within the United States Capitol and its grounds, where

the Vice President and Vice President–elect were temporarily visiting, without lawful authority to

do so.

         (Entering and Remaining in a Restricted Building or Grounds, in violation of
         Title 18, United States Code, Section 1752(a)(1))

                                         COUNT TWO

         On or about January 6, 2021, in the District of Columbia, JONAH WESTBURY, did

knowingly, and with intent to impede and disrupt the orderly conduct of Government business and
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official functions, engage in disorderly and disruptive conduct in and within such proximity to, a

restricted building and grounds, that is, any posted, cordoned-off, or otherwise restricted area

within the United States Capitol and its grounds, where the Vice President and Vice President-

elect were temporarily visiting, when and so that such conduct did in fact impede and disrupt the

orderly conduct of Government business and official functions.

       (Disorderly and Disruptive Conduct in a Restricted Building or Grounds, in
       violation of Title 18, United States Code, Section 1752(a)(2))

                                       COUNT THREE

       On or about January 6, 2021, in the District of Columbia, JONAH WESTBURY, willfully

and knowingly engaged in disorderly and disruptive conduct within the United States Capitol

Grounds and in any of the Capitol Buildings with the intent to impede, disrupt, and disturb the

orderly conduct of a session of Congress and either House of Congress, and the orderly conduct in

that building of a hearing before or any deliberation of, a committee of Congress or either House

of Congress.

       (Disorderly Conduct in a Capitol Building or Grounds, in violation of Title 40,
       United States Code, Section 5104(e)(2)(D))

                                        COUNT FOUR

       On or about January 6, 2021, in the District of Columbia, JONAH WESTBURY

willfully and knowingly paraded, demonstrated, and picketed in any United States Capitol

Building.

       (Parading, Demonstrating, or Picketing in a Capitol Building, in violation of
       Title 40, United States Code, Section 5104(e)(2)(G))




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                           Respectfully submitted,

                           CHANNING D. PHILLIPS
                           Acting United States Attorney




                     By:   /s/Frederick Yette
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